Case 1:18-cv-00462-MN          Document 153    Filed 06/27/19     Page 1 of 40 PageID #: 3044




                         THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 GAVRIELI BRANDS LLC, a California
 Limited Liability Company,

                  Plaintiff,

        v.
                                                   Case No. 18-cv-00462-MN
 SOTO MASSINI (USA) CORP., a Delaware
 corporation; and THOMAS PICHLER, an
 individual,

                  Defendants.


      PLAINTIFF GAVRIELI BRANDS LLC’S OPENING BRIEF IN SUPPORT OF
        ITS MOTION FOR PERMANENT INJUNCTION, ATTORNEYS’ FEES,
       ENHANCED DAMAGES, AND PRE‒ AND POST‒JUDGMENT INTEREST



  John V. Gorman (DE Bar No. 6599)            Michael J. Lyons (admitted pro hac vice)
  Amy M. Dudash (DE Bar No. 5741)             Ahren C. Hsu-Hoffman (admitted pro hac vice)
  MORGAN, LEWIS & BOCKIUS LLP                 Ehsun Forghany (admitted pro hac vice)
  The Nemours Building                        MORGAN, LEWIS & BOCKIUS LLP
  1007 North Orange Street                    1400 Page Mill Road
  Suite 501                                   Palo Alto, CA 94304
  Wilmington, Delaware 19801                  Telephone: 1.650.843.4000
  Telephone: 302.574.3000                     michael.lyons@morganlewis.com
  Fax: 302.574.3001                           ehsun.forghany@morganlewis.com
  john.gorman@morganlewis.com
  amy.dudash@morganlewis.com                  Sharon R. Smith (admitted pro hac vice)
                                              Brett A. Lovejoy, Ph.D (admitted pro hac vice)
                                              MORGAN, LEWIS & BOCKIUS LLP
                                              One Market, Spear Street Tower
                                              San Francisco, CA 94105
                                              Telephone: 1.415.442.1000
                                              sharon.smith@morganlewis.com
                                              brett.lovejoy@morganlewis.com

  Dated: June 27, 2019                        Attorneys for Plaintiff Gavrieli Brands, LLC
Case 1:18-cv-00462-MN                     Document 153                Filed 06/27/19               Page 2 of 40 PageID #: 3045


                                                    TABLE OF CONTENTS

                                                                                                                                     Page


 NATURE AND STAGE OF PROCEEDINGS / CONCISE STATEMENT OF FACTS............. 1
 SUMMARY OF THE ARGUMENT ............................................................................................ 1
 ARGUMENT ................................................................................................................................. 3
 I.        GAVRIELI IS ENTITLED TO A PERMANENT INJUNCTION ................................... 3
           A.         Defendants Should be Enjoined From Further Acts of Infringement .................... 4
                      1.         Defendants’ Infringement Imposes Irreparable Harm on Gavrieli ............ 4
                                 a.         Irreparable Harm Caused by Competitor Status of
                                            Defendants ..................................................................................... 5
                                 b.         Irreparable Harm to Gavrieli’s Market Share ................................ 5
                                 c.         Irreparable Harm to Gavrieli’s Reputation and Goodwill ............. 8
                      2.         Money Cannot Substitute for an Injunction ............................................. 10
                      3.         The Balance of the Equities Weighs Decidedly in Gavrieli’s Favor ....... 11
                      4.         The Public Interest Is Served by an Injunction ........................................ 12
           B.         A Broad Injunction Is Warranted ......................................................................... 13
 II.       GAVRIELI IS ENTITLED TO ITS ATTORNEYS’ FEES ............................................ 18
           A.         Defendants’ Willfulness Makes This Case Exceptional ...................................... 18
           B.         Defendants Presented No Defenses to Gavrieli’s Lanham Act Claims, and
                      Asserted Factually Baseless and Legally Barred Counterclaims ......................... 19
           C.         Defendants Undertook a Vexatious Litigation Strategy and Employed
                      Dilatory Tactics to Harass Gavrieli and Drive Up Its Litigation Costs ............... 21
           D.         The Court May Also Award Attorneys’ Fees Under Its Inherent Powers ........... 25
 III.      THE COURT SHOULD ENHANCE THE DAMAGES AWARD BY TRIPLE ........... 26
 IV.       GAVRIELI IS ENTITLED TO PRE-JUDGEMENT INTEREST .................................. 28
 V.        GAVRIELI IS ENTITLED TO POST-JUDGEMENT INTEREST ............................... 30
 VI.       CONCLUSION ................................................................................................................ 30




                                                                     -i-
Case 1:18-cv-00462-MN                    Document 153                Filed 06/27/19             Page 3 of 40 PageID #: 3046


                                                TABLE OF AUTHORITIES

                                                                                                                               Page(s)

 Cases

 3M Innovative Properties Co. v. Avery Dennison Corp.,
    2006 WL 2735499 (D. Minn. Sept. 25, 2006) .........................................................................14

 A & H Sportswear Co. v. Victoria’s Secret Stores, Inc.,
    167 F. Supp. 2d 770 (E.D. Pa. 2001) .......................................................................................26

 A & H Sportswear, Inc. v. Victoria’s Secret Stores, Inc.,
    166 F.3d 197 (3d Cir. 1999).......................................................................................................7

 A.V. by Versace, Inc. v. Gianni Versace, S.p.A.,
    126 F. Supp. 2d 328 (S.D.N.Y. 2001)......................................................................................16

 Abbott Labs v. Sandoz, Inc.,
    544 F.3d 1341 (Fed. Cir. 2008)................................................................................................13

 Acumed LLC v. Stryker Corp.,
    551 F.3d 1323 (Fed. Cir. 2008)..........................................................................................11, 13

 Adv. Cardiovascular Sys. v. Medtronic Vascular, Inc.,
    579 F. Supp. 2d 554 (D. Del. 2008) ...........................................................................................5

 Alyeska Pipeline Serv. Co. v. Wilderness Soc’y,
    421 U.S. 240 (1975) .................................................................................................................25

 Amgen Inc. v. Hospira, Inc.,
   2018 WL 4080353 (D. Del. 2018) .......................................................................................8, 29

 Angel Flight of Georgia, Inc. v. Angel Flight America, Inc.,
    522 F.3d 1200 (11th Cir. 2008) .................................................................................................3

 Apple, Inc. v. Samsung Elec. Co., Ltd.,
    2011 WL 7036077 (N.D. Cal. Dec. 2, 2011) .............................................................................6

 BASF Corp. v. Old World Trading Co., Inc.,
    41 F.3d 1081 (7th Cir. 1994) ...................................................................................................18

 Bekins Holding Corp. v. BGT Trans, Inc.,
    2010 WL 11597623 (C.D. Cal. Nov. 19, 2010).......................................................................13

 Belleau Tech., LLC v. JoeAllenPro Ltd.,
     2018 WL 4037882 (S.D.N.Y. 2018) ........................................................................................15

 Bio-Rad Labs., Inc. v. Nicolet Inst. Corp.,
    807 F.2d 964 (Fed. Cir. 1986)..................................................................................................29


                                                                   -ii-
Case 1:18-cv-00462-MN                    Document 153                Filed 06/27/19              Page 4 of 40 PageID #: 3047


                                                TABLE OF AUTHORITIES
                                                      (continued)
                                                                                                                                 Page
 Bos. Prof’l Hockey Ass’n v. Dallas Cap & Emblem Mfg., Inc.,
    597 F.2d 71 (5th Cir. 1979) .....................................................................................................27

 Brady Worldwide, Inc. v. Haz-Mat Resp. Techs.,
    2016 WL 7839150 (E.D. Wis. Aug. 17, 2016) ........................................................................18

 Broadcom Corp. v. Qualcomm Inc.,
    543 F.3d 683 (Fed. Cir. 2008)....................................................................................................7

 Brooks Furniture Mfg., Inc. v. Dutailier Int’l, Inc.,
    393 F.3d 1378 (Fed. Cir. 2005)................................................................................................19

 Burberry Ltd. UK v. Cohen,
    2013 WL 12113995 (C.D. Cal. Mar. 18, 2013) .........................................................................8

 Cal. Med. Prods., Inc. v. Emergency Med. Inc.,
    796 F. Supp. 640 (D.R.I. 1992)................................................................................................12

 Calvin Klein Inds., Inc. v. BFK Hong Kong, Ltd.,
    714 F. Supp. 78 (S.D.N.Y. 1989) ............................................................................................16

 Century 21 Real Estate Corp. v. Sandlin,
    846 F.2d 1175 (9th Cir. 1988) ...................................................................................................3

 Chambers v. NASCO, Inc.,
    501 U.S. 32 (1991) ...................................................................................................................25

 Church & Dwight Co., Inc. v. SPD Swiss Precision Diagnostics, GmBH,
    843 F.3d 48 (2d. Cir. 2016)......................................................................................................17

 Citizens Fin. Grp., Inc. v. Citizens Nat. Bank of Evans City,
     383 F.3d 110 (3d Cir. 2004)...................................................................................................4, 9

 Deering Milliken & Co. v. Gilbert,
    269 F.2d 191 (2d Cir. 1959).....................................................................................................26

 Douglas Dynamics, LLC v. Buyer Prods. Co.,
    717 F.3d 1136 (Fed. Cir. 2013)..................................................................................................6

 Douglas Dynamics, LLC v. Buyers Prods. Co.,
    717 F.3d 1336 (Fed. Cir. 2013)..............................................................................................5, 9

 E. & J. Gallo Winery v. Consorzio del Gallo Nero,
    782 F. Supp. 472 (N.D. Cal. 1992) ..........................................................................................19

 eBay Inc. v. MercExchange, L.L.C.,
    547 U.S. 388 (2006) ...................................................................................................................4


                                                                     iii
Case 1:18-cv-00462-MN                    Document 153                Filed 06/27/19             Page 5 of 40 PageID #: 3048


                                                TABLE OF AUTHORITIES
                                                      (continued)
                                                                                                                              Page
 Eon-Net LP v. Flagstar Bancorp.,
    653 F.3d 1314 (Fed. Cir. 2011)................................................................................................21

 Farberware, Inc. v. Mr. Coffee, Inc.,
    740 F. Supp. 291 (D. Del. 1990) ..............................................................................................11

 Fisher-Price, Inc. v. Safety 1st, Inc.,
    2008 WL 1976624 (D. Del. May 5, 2008) (J. Sleet) ...............................................................15

 Florist’s Transworld Delivery v. Worldwide Flower & Gift Emporium,
    1998 WL 177473 (D. Nev. Jan. 27, 1998) ...............................................................................10

 Forest Labs. Inc., v. Ivax Pharma., Inc.,
    501 F.3d 1263 (Fed. Cir. 2007)................................................................................................14

 Fun–Damental Too, Ltd. v. Gemmy Indus. Corp.,
    111 F.3d 993 (2d Cir. 1997).....................................................................................................16

 General Motors Corp. v. Devex Corp.,
    461 U.S. 648 (1983) .................................................................................................................28

 Georgetown Rail Equip. Co. v. Holland L.P.,
    2016 WL 3346084 (E.D. Tex. June 16, 2016) ...................................................................18, 23

 Gorenstein Enters., Inc. v. Quality Care-USA, Inc.,
    874 F.2d 431 (7th Cir. 1989) ...................................................................................................29

 Green Mountain Glass LLC v. Saint-Gobain Containers, Inc.,
    F. Supp. 3d 610 (D. Del. 2018) ................................................................................................29

 Harris Research, Inc. v. Perrine,
    2009 WL 1457674 (D. Utah 2009) ..........................................................................................15

 Herb Reed Enters., LLC v. Florida Ent. Mgmt., Inc.,
    736 F.3d 1239 (9th Cir. 2013) ...................................................................................................8

 Hologic, Inc. v. Minerva Surgical, Inc.,
    2019 WL 1958020 (D. Del. May 2, 2019) ...............................................................................30

 Hybritech Inc. v. Abbott Labs.,
    849 F.2d 1446 (Fed. Cir. 1985)............................................................................................8, 13

 i4i Ltd. P’ship v. Microsoft Corp.,
     598 F.3d 831 (Fed. Cir. 2010)..............................................................................................4, 11

 Imperium IP Holdings (Cayman), Ltd. v. Samsung Elec. Co., Ltd.,
    2017 WL 4038883 (E.D. Tex. 2017) .................................................................................22, 23


                                                                    iv
Case 1:18-cv-00462-MN                    Document 153                Filed 06/27/19             Page 6 of 40 PageID #: 3049


                                                TABLE OF AUTHORITIES
                                                      (continued)
                                                                                                                            Page
 IMX, Inc. v. LendingTree, LLC,
    469 F. Supp. 2d 203 (D. Del. 2007) .........................................................................................29

 Ironworks Patents, LLC v. Apple, Inc.,
     255 F. Supp. 3d 513 (D. Del. 2017) .........................................................................................30

 JEG Powersports, LLC v. M & N Dealership VI, LLC,
    2017 WL 5346388 (W.D. Okla. Nov. 13, 2017) .....................................................................19

 Kirtsaeng v. John Wiley & Sons, Inc.,
     136 S. Ct. 1979 (2016) .............................................................................................................21

 Linex Tech., Inc. v. Hewlett Packard Co.,
    2014 WL 461687 (N.D. Cal. Sept. 15, 2014) ..........................................................................21

 Larsen v. Terk Tech. Corp.,
    151 F.3d 140 (4th Cir. 1998) ...................................................................................................26

 Levi Strauss & Co. v. Sunrise Int’l Trading Inc.,
    51 F.3d 982 (11th Cir. 1995) ...................................................................................................16

 LG Display Co. v. AU Optronics Corp.,
    722 F. Supp. 2d 466 (D. Del. 2010) .........................................................................................30

 Louis Vuitton S.A. v. Spencer Hangbags Corp.,
    765 F.2d 966 (2d Cir. 1985).....................................................................................................28

 Lyda v. CBS Interactive Inc.,
    No. 4:16-cv-06592-JSW, Dkt. 35 (N.D. Cal. Jan. 24, 2018) ...................................................21

 Midwest Fur Producers Ass’n v. Mutation Mink Breeders Ass’n,
    127 F. Supp. 217 (W.D. Wis. 1954) ........................................................................................17

 Monolithic Power Sys., Inc. v. O2 Micro Intern. Ltd.,
   726 F.3d 1359 (Fed. Cir. 2013)................................................................................................25

 N.V.E., Inc. v. Day,
    2009 WL 2526744 (D.N.J. Aug. 18, 2009) .............................................................................29

 N.Y. Soc. of Cert. Pub. Accts. v. Eric Louis Assocs., Inc.,
    79 F. Supp. 2d 331 (S.D.N.Y. 1999)........................................................................................19

 New York Racing Ass’n, Inc. v. Stroup News Agency Corp.,
    920 F. Supp. 295 (N.D.N.Y. 1996) ..........................................................................................26

 Nickson Indus., Inc. v. Rol Mfg. Co.,
    847 F.2d 795 (Fed. Cir. 1988)............................................................................................28, 30


                                                                     v
Case 1:18-cv-00462-MN                    Document 153                Filed 06/27/19             Page 7 of 40 PageID #: 3050


                                                TABLE OF AUTHORITIES
                                                      (continued)
                                                                                                                              Page
 Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck Consumer Pharm.
    Co., 290 F.3d 578 (3d Cir. 2002) ...............................................................................................6

 Novozymes A/S v. Genencor Intern., Inc.,
    474 F. Supp. 2d 592 (D. Del. 2007) ...........................................................................................7

 Octane Fitness, LLC v. ICON Health & Fitness, Inc.,
    572 U.S. 2014 (2014) .........................................................................................................18, 19

 On Command Video Corp. v. Columbia Pictures Indus., Inc.,
    764 F.Supp. 1372 (N.D. Cal. 1991) .........................................................................................17

 PPG Indus. v. Guardian Indus. Corp.,
   75 F.3d 1558 (Fed. Cir. 1996)..................................................................................................12

 Pappan Enters., Inc. v. Hardee’s Food Sys., Inc.,
    143 F.3d 800 (3d Cir. 1998)...................................................................................................8, 9

 Parks, LLC v. Tyson Foods, Inc.,
    2017 WL 3534993 (E.D. Pa. Aug. 17, 2017) ..........................................................................22

 Pfizer, Inc. v. Teva Pharms. USA, Inc.,
     429 F.3d 1364 (Fed. Cir. 2005)................................................................................................12

 Playboy Enter. Inc. v. P.K. Sorren Export Co., Inc. of Fl.,
    546 F. Supp. 987 (S.D. Fla. 1982) ...........................................................................................28

 Polaroid Corp. v. Blue Dot Corp.,
    1981 WL 48175 (D. N.J. Aug. 12, 1981) ................................................................................16

 Polymer Techs. v. Birdwell,
    103 F.3d 970 (Fed. Cir. 1996)................................................................................................6, 7

 Progressive Int’l. Corp. v. AMGTM LLC,
    2018 WL 4091694 (W.D. Wash. Aug. 28, 2018) ....................................................................22

 Reebok Int’l, Ltd. v. J. Baker, Inc.,
    32 F.3d 1552 (Fed. Cir. 1994)....................................................................................................9

 Reebok Int’l Ltd. v. Marnatech Enters.,
    970 F.2d 552 (9th Cir. 1992) ...................................................................................................16

 Rite-Hite Corp. v. Kelley Co.,
     56 F.3d 1538 (Fed. Cir. 1995)..................................................................................................29

 Roadway Exp. Inc. v. Piper,
    447 U.S. 752 (1980) .................................................................................................................25


                                                                    vi
Case 1:18-cv-00462-MN                    Document 153                Filed 06/27/19              Page 8 of 40 PageID #: 3051


                                                TABLE OF AUTHORITIES
                                                      (continued)
                                                                                                                              Page
 Robert Bosch LLC v. Pylon Mfg. Corp.,
    659 F.3d 1142 (Fed. Cir. 2011)..............................................................................................4, 6

 Sensonics, Inc. v. Aerosonic Corp.,
    81 F.3d 1566 (Fed. Cir. 1996)............................................................................................24, 28

 Shields v. Zuccarini,
     254 F.3d 476 (3d. Cir. 2001)....................................................................................................13

 Skretvedt v. E.I. DuPont De Nemours,
    372 F.3d 193 (3d Cir. 2004).....................................................................................................29

 Smith & Nephew,
    466 F. Supp. 2d 978 (W.D. Tenn. Sept. 28, 2006) ..................................................................10

 Sportco, Inc. v. TRT Tactical, LLC,
    2015 WL 3915618 (E.D.N.Y. 2015)........................................................................................15

 Steele v. Bulova Watch Co.,
     344 U.S. 280 (1952) .................................................................................................................16

 Sun Ship, Inc. v. Matson Nav. Co.,
    785 F.2d 59 (3d Cir. 1986).......................................................................................................29

 Sweetzel, Inc. v. Hawk Hill Cookies, Inc.,
    1996 U.S. Dist. LEXIS 8562 (E.D. Pa. June 19, 1996) ...........................................................26

 SynQor, Inc v. Artesyn Tech., Inc.,
    2011 WL 238645 (E.D. Tex. Jan. 24, 2011) ........................................................................5, 10

 Taco Cabana Int’l, Inc. v. Two Pesos, Inc.,
    932 F.2d 1113 (5th Cir. 1991), aff’d, 505 U.S. 763 (1992) .........................................17, 26, 27

 Tambrands, Inc. v. Warner-Lambert Co.,
    673 F. Supp. 1190 (S.D.N.Y. 1987).........................................................................................10

 Tinnus Enterprises, LLC v. Telebrands Corp.,
    2017 WL 24147 (E.D. Jan. 3, Tex. 2017),
    aff’d, 846 F.3d 1190 (Fed. Cir. 2017) ......................................................................................14

 United Construction Products, Inc. v. Title Tech., Inc.,
    843 F.3d 1363 (Fed. Cir. 2016)................................................................................................15

 Unites States v. Marine Shale Processors,
    81 F.3d 1329 (5th Cir. 1996) ...................................................................................................11




                                                                    vii
Case 1:18-cv-00462-MN                      Document 153                 Filed 06/27/19              Page 9 of 40 PageID #: 3052


                                                  TABLE OF AUTHORITIES
                                                        (continued)
                                                                                                                                Page
 William A. Graham Co. v. Haughey,
    646 F.3d 138 (3d Cir. 2011).....................................................................................................28

 World Ent’mt, Inc. v. Brown,
   2011 WL 2036686 (E.D. Pa. May 20, 2011) ...........................................................................15

 Yah Kai World Wide Enterprises, Inc. v. Napper,
    292 F. Supp. 3d 337, 366 (D.D.C. 2018) ...........................................................................18, 19

 Statutes

 15 U.S.C. § 1117 ................................................................................................................18, 26, 27

 28 U.S.C. § 1961 ............................................................................................................................30

 35 U.S.C. § 284 ..............................................................................................................................28

 35 U.S.C. § 285 ..............................................................................................................................26

 Other Authorities

 Fed. R. Civ. P. 59(e) ......................................................................................................................30

 Fed. R. Civ. P. 65(d) ......................................................................................................................14




                                                                      viii
Case 1:18-cv-00462-MN          Document 153        Filed 06/27/19      Page 10 of 40 PageID #: 3053




     NATURE AND STAGE OF PROCEEDINGS / CONCISE STATEMENT OF FACTS

         On May 3, 2019, after a five-day trial, the jury found Defendants Soto Massini (USA)

  Corporation and Mr. Thomas Pichler (collectively, “Defendants”) liable for design patent

  infringement, trade dress infringement, false advertising, and unfair competition. D.I. 143

  (verdict). The jury further found that Defendants’ patent infringement was willful, and that their

  trade dress infringement, false advertising, and unfair competition was intentional. Id.

         For damages, the jury found that Gavrieli was entitled to receive the profits earned by

  Defendants in the amount of $880,658 as compensation for patent infringement and as partial

  compensation for trade dress infringement, false advertising, or unfair competition. Id. The jury

  further found that Gavrieli was entitled to receive $1,282,000 as compensation for the loss of

  goodwill caused by Defendants’ trade dress infringement, false advertising, or unfair competition,

  and that Gavrieli was also entitled to receive $790,000 as compensation for corrective advertising

  required to correct the public confusion caused by Defendants’ trade dress infringement, false

  advertising, or unfair competition. Id. The Court entered Judgement on May 13, 2019. D.I. 149.

                                SUMMARY OF THE ARGUMENT

         The rise of e-commerce has made it easier for brands to reach consumers, while at the

  same time made it more difficult for brands to obtain consumer recognition. The footwear

  industry is no exception. To stand out and compete in this crowded market, Gavrieli designed a

  novel and distinctive “Peekaboo” outsole for its Tieks ballet flats, and obtained design patent and

  trade dress rights covering that design. By making a substantial investment in marketing, material

  selection, quality control, and customer service, Gavrieli also developed goodwill in the Peekaboo

  design, and relies on its design patent and trade dress rights to protect that investment.

         Rather than make the same investment, Defendants made a calculated business decision

  to trade upon Gavrieli’s goodwill by copying its protected Peekaboo outsole design—a feature
Case 1:18-cv-00462-MN          Document 153        Filed 06/27/19      Page 11 of 40 PageID #: 3054




  consumers associate with Gavrieli. To cause further customer confusion, Defendants falsely

  advertised their Terzetto Milano ballet flats (the “Infringing Flats”) as being made with full-grain,

  Nappa leather and falsely claimed to donate sales proceeds to a women’s nonprofit organization

  to appeal to Gavrieli’s core customer base. Defendants’ wrongful conduct ensured Infringing

  Flats would be a commercial success despite their inferior quality. In the first two months alone,

  Defendants were able to sell an unprecedented number of Infringing Flats on Kickstarter, totaling

  nearly a million dollars in revenue, more than half of which came from Gavrieli’s current

  customers. Defendants’ misuse of Gavrieli’s intellectual property has caused severe, long-term

  and irreparable harm to Gavrieli in a market where customer trust and loyalty is critical.

         Defendants engaged in this conduct willfully, ignoring repeated demands from Gavrieli to

  refrain from their acts of infringement, false advertising, and unfair competition. Defendants bet

  that the benefits of using Gavrieli’s patented designs and trade dress would far outweigh any

  damages award that might result from litigation. To improve their odds, Defendants made false

  representations to this Court, provided false discovery responses, and withheld critical documents

  to conceal the full extent of their infringement. As a result, the jury’s damages award is dwarfed

  by the benefits Defendants have reaped and will continue to reap from their unlawful conduct.

  As if there was any doubt, Defendants have continued selling the infringing flats in the face of

  this damages award. See Ex. A. To reassure their customers, Defendants have even publicly

  mischaracterized the verdict, and gone so far as promising to avoid any impending injunction by

  forming another entity to continue their intentional infringement. See Exs. B-D. This Court can

  and should take further action to redress the Defendants’ ongoing harmful conduct.

         First, the Court should permanently enjoin Defendants from any further acts of patent and

  trade dress infringement, false advertising, and unfair competition, which have caused irreparable




                                                    -2-
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 12 of 40 PageID #: 3055




  harm to Gavrieli’s revenues, market share, and goodwill in ways that money cannot remedy. The

  equities favor Gavrieli and the requested injunctive relief will serve the public interest.

         Second, the Court should deem this case exceptional and award Gavrieli its reasonable

  attorneys’ fees pursuant to the Patent Act, Lanham Act, or inherent authority due to Defendants’

  exceptionally weak contentions and the unreasonable manner in which they litigated this case. In

  particular, Defendants asserted factually baseless and legally barred counterclaims to pressure

  Gavrieli into a settlement, undertook a vexatious litigation strategy that multiplied the

  proceedings, and employed dilatory tactics to harass Gavrieli and drive up its litigation costs.

         Third, the Court should order a $5.9 million enhancement of the damages award pursuant

  to Section 1117(a) of the Lanham Act to deter Defendants’ willful and ongoing infringement.

  Moreover, Defendants’ deliberate failure to produce complete and reliable sales records justifies

  tripling the damages award to compensate for the understated calculation of infringing sales.

         Finally, the Court should award Gavrieli as the prevailing party its pre-judgment interest

  on the damages award, calculated at the prime rate and compounded quarterly, running from

  Defendants’ first sale of the infringing flats on February 5, 2018 through May 13, 2019, the date

  of the Judgment. The Court should likewise award Gavrieli post-judgment interest on the

  damages award at the current rate of 2.36%, accruing at $203.61 per day.

                                             ARGUMENT

  I.     GAVRIELI IS ENTITLED TO A PERMANENT INJUNCTION

         Injunctive relief is the customary remedy for design patent and trade dress infringement

  because irreparable harm is presumed from consumer confusion. Angel Flight of Georgia, Inc. v.

  Angel Flight America, Inc., 522 F.3d 1200, 1209 (11th Cir. 2008) (“[C]omplete injunctions against

  the infringing party are the order of the day”); Century 21 Real Estate Corp. v. Sandlin, 846 F.2d

  1175, 1180-81 (9th Cir. 1988) (“Injunctive relief is the preferred remedy of choice”). As the Third



                                                    -3-
Case 1:18-cv-00462-MN          Document 153         Filed 06/27/19      Page 13 of 40 PageID #: 3056




  Circuit has explained, “a finding of infringement or the likelihood of confusion . . . signifies a loss

  of expectation and goodwill as well” because “[t]he infringement amounts to borrowing the

  [plaintiff’s] reputation and goodwill, which is an injury in and of itself, even without evidence of

  actual loss of goodwill.” Citizens Fin. Grp., Inc. v. Citizens Nat. Bank of Evans City, 383 F.3d

  110, 131 (3d Cir. 2004). Having proven that Defendants’ use of the patents designs and trade dress

  confuses consumers, Gavrieli now requests that the Court permanently enjoin further infringement.

         A.      Defendants Should be Enjoined From Further Acts of Infringement

         A prevailing plaintiff is entitled to a permanent injunction if it can show “that (1) it has

  suffered an irreparable injury; (2) remedies available at law are inadequate to compensate for that

  injury; (3) considering the balance of hardships between the plaintiff and defendant, a remedy in

  equity is warranted; and (4) the public interest would not be ‘disserved’ by a permanent

  injunction.” i4i Ltd. P’ship v. Microsoft Corp., 598 F.3d 831, 861 (Fed. Cir. 2010) (quoting eBay

  Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006)). Gavrieli satisfies all four factors.

                 1.      Defendants’ Infringement Imposes Irreparable Harm on Gavrieli

         The evidence presented at trial has shown that Defendants’ willful patent infringement and

  intentional trade dress infringement subjects Gavrieli to irreparable harm. “Past harm to a

  patentee’s market share, revenues, and brand recognition is relevant to determining whether the

  patentee ‘has suffered an irreparable injury.’” i4i, 598 F.3d at 861-62 (quoting eBay, 547 U.S. at

  391). As shown below, Gavrieli has suffered, and will continue to suffer, irreparable harm absent

  a court order permanently enjoining Defendants from any further acts of infringement. Robert

  Bosch LLC v. Pylon Mfg. Corp., 659 F.3d 1142, 1155 (Fed. Cir. 2011) (“[T]here is no reason to

  believe that [the infringer] will stop infringing or that the irreparable harm resulting from its

  infringement will otherwise cease absent an injunction.”).




                                                     -4-
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 14 of 40 PageID #: 3057




                         a.      Irreparable Harm Caused by Competitor Status of Defendants

         There is no dispute that Gavrieli and Defendants directly compete with one another.

  Defendants’ infringing ballet flats use the outsole designs covered by Gavrieli’s design patent and

  trade dress rights. Gavrieli and Defendants are direct competitors in a niche market largely created

  by the substantial investments that Gavrieli made to create the novel and distinctive outsole designs

  that define this “new category of footwear.” PTX-534; Trial Tr. at 253:13-22. “Where two

  companies are in competition against one another, the patentee suffers the harm—often

  irreparable—of being forced to compete against products that incorporate and infringe its own

  patented inventions.” Douglas Dynamics, LLC v. Buyers Prods. Co., 717 F.3d 1336, 1345 (Fed.

  Cir. 2013). Indeed, “[t]he best case for obtaining a permanent injunction often occurs when the

  plaintiff and defendant are competing in the same market” because “the harm in allowing the

  defendant to continue infringing is the greatest.” SynQor, Inc v. Artesyn Tech., Inc., 2011 WL

  238645, at *3 (E.D. Tex. Jan. 24, 2011); Adv. Cardiovascular Sys. v. Medtronic Vascular, Inc.,

  579 F. Supp. 2d 554, 558 (D. Del. 2008) (“Courts awarding permanent injunctions typically do so

  under circumstances where [the] plaintiff practices its invention and is a direct market

  competitor.”). Absent an injunction, Gavrieli will be forced to compete against flats using the

  patented designs and trade dress associated with its brand.

                         b.      Irreparable Harm to Gavrieli’s Market Share

         Not only do Gavrieli and Defendants use the patented designs and trade dress in the same

  type of product (ballet flats), they also advertise and sell those products through the same channels

  of commerce (social media), and even compete for the same group of consumers (females willing

  to purchase luxury products online). These circumstances further compound the consumer

  confusion created by Defendants’ infringement. Unsurprisingly, Defendants’ sale of infringing

  ballet flats has directly impacted Gavrieli’s revenue by diverting sales that would have otherwise



                                                    -5-
Case 1:18-cv-00462-MN          Document 153        Filed 06/27/19      Page 15 of 40 PageID #: 3058




  been made by Gavrieli. The evidence showed that Defendants were able to sell a surprisingly

  large number of the Infringing Flats after they launched on Kickstarter: over 3,300 units in just

  under two months (totaling $700K in revenue).             Trial Tr. 606:9-12, 608:2-12, 724:1-8.

  Defendants’ ability to quickly mobilize and attain such high sales volumes only underscores the

  lost sales Gavrieli would suffer in the long term if Defendants’ were allowed to continue selling

  infringing ballet flats.

          As with other competitor cases, allowing Defendants to continue selling ballet flats already

  deemed to infringe would also permanently erode Gavrieli’s market share and customer base. “It

  is well settled that loss of market share or the permanent loss of customers as a result of infringing

  conduct may support a finding of irreparable harm.” Apple, Inc. v. Samsung Elec. Co., Ltd., 2011

  WL 7036077, at *19 (N.D. Cal. Dec. 2, 2011) (citing Robert Bosch, 659 F.3d at 1153-54 and

  Polymer, 103 F.3d at 976); Douglas Dynamics, LLC v. Buyer Prods. Co., 717 F.3d 1136, 1345

  (Fed. Cir. 2013) (“[M]ere damages will not compensate for a competitor’s increasing share of the

  market, a market which [the patentee] competes in, and a market that [the patentee] has in part

  created with its investment in patented technology.”).

          The unrebutted evidence at trial has established that Defendants successfully poached

  Gavrieli’s customers by selling a lower-priced ballet flat that incorporates Gavrieli’s patented

  designs and trade dress. This loss of market share is particularly irreparable where, as here, it

  occurs in a “competitive industry where consumers are brand-loyal.” Novartis Consumer Health,

  Inc. v. Johnson & Johnson-Merck Consumer Pharm. Co., 290 F.3d 578, 596 (3d Cir. 2002).

  Indeed, Gavrieli’s customers have each purchased approximately two pairs of Tieks on average,

  with some customers purchasing as many as fifty pairs. Trial Tr. 252:17-22. And more than 50%

  of Defendants’ customers had previously purchased a pair of Tieks. PTX-1006; Trial Tr. at




                                                    -6-
Case 1:18-cv-00462-MN          Document 153         Filed 06/27/19      Page 16 of 40 PageID #: 3059




  837:10-838:17.     Unless enjoined, Defendants’ continued sale of infringing products will

  permanently erode Gavrieli’s market share as this niche market converts from a single-seller

  market to one with multiple sellers, especially when purchasers become accustomed to paying

  lower prices for Defendants’ infringing flats. As the Federal Circuit has found, “competitors

  change the marketplace” such that “it may be impossible to restore a patentee’s exclusive position

  by an award of damages” because “customers may have established relationships with infringers”

  and “[r]equiring purchasers to pay higher prices after years of paying lower prices to infringers is

  not a reliable business option.” Polymer Techs. v. Birdwell, 103 F.3d 970, 975-76 (Fed. Cir. 1996).

         This is precisely why Gavrieli has never licensed its intellectual property rights to any

  brand, let alone a direct competitor selling ballet flats using its “signature” Peekaboo outsole

  designs. Trial Tr. at 277:4-9; see also id. at 167:24-168:3, 168:24-169:8, 251:6-16; Broadcom

  Corp. v. Qualcomm Inc., 543 F.3d 683, 702 (Fed. Cir. 2008) (irreparable harm where patentee had

  a history of not licensing its intellectual property to competitors); Novozymes A/S v. Genencor

  Intern., Inc., 474 F. Supp. 2d 592, 612 (D. Del. 2007) (same). Gavrieli not only incorporates its

  trade dress and patented designs into every pair of Tieks, but it also invests millions of dollars each

  year in “look-for” advertising so that consumers continue to associate its patented outsole designs

  and trade dress with a single source: Gavrieli. Trial Tr. at 242:18-244:22. Denial of an injunction

  would essentially amount to a compulsory license of Gavrieli’s intellectual property rights to a

  direct competitor—the very rights that Gavrieli considers critical to its brand identity and

  commercial success. A & H Sportswear, Inc. v. Victoria's Secret Stores, Inc., 166 F.3d 197, 208

  (3d Cir. 1999) (reversing royalty award for future infringement because the royalty “impos[ed] a

  license neither party had requested or negotiated.”).




                                                     -7-
Case 1:18-cv-00462-MN          Document 153         Filed 06/27/19       Page 17 of 40 PageID #: 3060




         Finally, failing to enjoin Defendants’ willful patent infringement and intentional trade dress

  infringement will embolden other competitors to enter the market. Hybritech Inc. v. Abbott Labs.,

  849 F.2d 1446, 1456 (Fed. Cir. 1985) (finding irreparable harm where, “in the absence of an

  injunction, other potential infringers will be encouraged to infringe.”). Gavrieli relies on its

  intellectual property rights to exclude hundreds of infringers from the marketplace every year,

  removing over 500 online stores in 2018 alone. PTX-664; Trial Tr. at 488:18-489:24. The

  requested injunction is therefore not only critical to Gavrieli’s enforcement efforts, but also

  necessary to deter future would-be infringers. Amgen, 581 F. Supp. 2d at 210-12 (finding

  irreparable harm where “[infringer’s] entry into the market . . . could encourage other would-be

  infringers to attempt to gain access, resulting in significant litigation expenses and uncertainty

  about the value of Amgen's patents.”). “Simply put, the value of the patents [and trade dress] at

  issue”—which protect designs critical to Gavrieli’s business—“would be greatly diminished”

  without injunctive relief. Id.

                         c.        Irreparable Harm to Gavrieli’s Reputation and Goodwill

         Gavrieli’s reputation and goodwill has likewise been damaged by Defendants’ sale of

  lower-quality ballet flats using Gavrieli’s patented designs and trade dress. “Harm to goodwill

  and loss of the ability to control a party’s reputation based on an inability to control the infringer’s

  products are irreparable harms” because “the distribution of a great number of [infringing] goods—

  particularly goods of inferior quality—risks harming the goodwill.” Burberry Ltd. UK v. Cohen,

  2013 WL 12113995, at *2 (C.D. Cal. Mar. 18, 2013); Pappan Enters., Inc. v. Hardee's Food Sys.,

  Inc., 143 F.3d 800, 805 (3d Cir. 1998) (finding “loss of control” may cause irreparable harm to

  “reputation, loss of trade, and loss of goodwill”); Herb Reed Enters., LLC v. Florida Ent. Mgmt.,

  Inc., 736 F.3d 1239, 1250 (9th Cir. 2013) (same). In design patent and trade dress cases, courts




                                                     -8-
Case 1:18-cv-00462-MN          Document 153          Filed 06/27/19      Page 18 of 40 PageID #: 3061




  have found that “[h]arm to reputation resulting from confusion between an inferior accused

  product and a patentee’s superior product is a type of harm that is often not fully compensable by

  money because the damages caused are speculative and difficult to measure.” Reebok Int’l, Ltd.

  v. J. Baker, Inc., 32 F.3d 1552, 1554 (Fed. Cir. 1994); Pappan, 143 F.3d at 805 (“Irreparable injury

  can also be based upon the possibility of confusion.”). “Even absent consumer confusion,

  however, there can still be harm to a company’s reputation, particularly its perception in the

  marketplace by customers.” Douglas Dynamics, 717 F.3d at 1344.

          The evidence presented at trial proved that Gavrieli has developed goodwill in the outsole

  designs covered by its patents and trade dress due to its significant investments in research,

  marketing, manufacturing, material selection, quality control, and customer service. Trial Tr. at

  653:25-656:6. Rather than make a similar investment, Defendants chose instead to trade upon

  Gavrieli’s reputation by using the patented designs and trade dress to disguise the inferior-quality

  of Defendants’ ballet flats. Id. at 656:7-659:17. The jury found that the Defendants’ use of the

  trade dress created a likelihood of confusion, D.I. 143, which “signifies a loss of expectation and

  goodwill as well.” Citizens Fin. Grp., 383 F.3d at 131 (reversing denial of injunction). Indeed,

  “[o]nce it has been proven that confusion is likely, this means that customers will be likely to

  mistakenly attribute to plaintiff defects or negative impressions they have of the infringer’s goods,”

  which puts “plaintiff’s reputation (and the value of the trade dress that symbolize that goodwill []

  at risk.” J. Thomas McCarthy, McCarthy on Trademarks § 30:66 (4th Ed. 2014) (collecting cases).

          To be sure, the evidence presented at trial has shown that consumers are not only extremely

  dissatisfied with the inferior quality of Defendants’ ballet flats, but are also likely to blame Gavrieli

  for the inferior quality of the infringing products. Trial Tr. at 656:7-659:17. Worse yet, the inferior

  quality of the Infringing Flats has made customers less willing to purchase ballet flats from




                                                      -9-
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 19 of 40 PageID #: 3062




  Gavrieli or any other brand that sells flats exclusively online. Id. Indeed, one Tieks customer

  testified that, after purchasing Defendants’ lower-quality ballet flats, “I am less trustworthy of

  other online-only ballet flat retailers, including Tieks, for ballet flats made of leather at similar

  price points, than before I purchased ballet flats from Soto Massini” (PTX-112); and another Tieks

  customer similarly testified that “I am now more hesitant to purchase ballet flats in the online

  marketplace,” (PTX-109). These are well-recognized forms of irreparable harm.               Florist’s

  Transworld Delivery v. Worldwide Flower & Gift Emporium, 1998 WL 177473, at *8 (D. Nev.

  Jan. 27, 1998) (irreparable harm where “[a]ny dissatisfaction by such customers [with the

  infringing product] could not be measured or remedied by plaintiff, thus affecting plaintiff’s

  goodwill.”); e.g., SynQor, 2011 WL 238645, at *3 (irreparable harm where “the evidence shows

  that [patentee] will continue to suffer harm to its customer relationships”).

                 2.      Money Cannot Substitute for an Injunction

         Although the jury awarded Gavrieli damages for Defendants’ past infringement, no

  monetary award could compensate Gavrieli for the irreparable harm it would suffer from

  Defendants’ continued infringement. SynQor, 2011 WL 238645, at *3 (finding that the jury’s

  monetary award is “designed to compensate [patentee] fairly and reasonably for its past injury …

  [it] does not make future damages adequate in the sense that they are a suitable proxy for injunctive

  relief.”). The harm resulting from Defendants’ ongoing infringement “is particularly difficult to

  quantify,” and this “difficulty in estimating monetary damages is evidence that remedies at law are

  inadequate.” Id. (“[L]oss of brand name recognition and goodwill are often incalculable and

  irreparable.”); Smith & Nephew, 466 F. Supp. 2d 978, 983 (W.D. Tenn. Sept. 28, 2006) (“[T]he

  loss of market share and the resulting lost profits and loss of brand name recognition which

  [patentee] suffered because of [infringer’s] continued sales of the infringing product constitutes

  injuries that are both incalculable and irreparable.”); Tambrands, Inc. v. Warner-Lambert Co., 673



                                                   - 10 -
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 20 of 40 PageID #: 3063




  F. Supp. 1190, 1195 (S.D.N.Y. 1987) (“Because it is very difficult to establish actual damages in

  a competitive market, legal remedies for [Lanham Act violations] are often inadequate.”). The

  inability to calculate Gavrieli’s future loss of market share, customers, and goodwill renders any

  monetary award inadequate.

         Even if these harms could be quantified with any certainty, Gavrieli’s patented designs and

  trade dress are a “delicate matter” that have “great value but that are [also] easily destroyed, and

  therefore should be protected with corresponding care.” Farberware, Inc. v. Mr. Coffee, Inc., 740

  F. Supp. 291, 295 (D. Del. 1990). Moreover, Gavrieli’s reputation is staked “upon the character

  of the goods” and a monetary award is incapable of repairing Gavrieli’s reputation each time

  Defendants market or sell an infringing ballet flat. Id. Injunctive relief is thus necessary.

                 3.      The Balance of the Equities Weighs Decidedly in Gavrieli’s Favor

         “The ‘balance of hardships’ assesses the relative effect of granting or denying an injunction

  on the parties.” i4i, 598 F.3d at 863. Here, the substantial and irreparable harm that Gavrieli has

  suffered, and will continue to suffer without injunctive relief, far outweighs any potential harm to

  Defendants for at least three reasons.

         First, the jury’s finding of willful patent infringement and intentional trade dress

  infringement tips the scale dramatically in favor of an injunction. D.I. 143. Courts “need not

  balance the hardships when a defendant’s conduct has been willful.” Unites States v. Marine Shale

  Processors, 81 F.3d 1329, 1358 (5th Cir. 1996). As the Federal Circuit has repeatedly made clear,

  “[o]ne who elects to build a business on a product found to infringe cannot be heard to complain

  if an injunction against continuing infringement destroys the business so elected.” Acumed LLC

  v. Stryker Corp., 551 F.3d 1323, 1330 (Fed. Cir. 2008) (affirming permanent injunction and district

  court’s decision not to consider in the balance of hardships analysis the fact that defendants

  incurred expenses in designing and marketing the infringing products).



                                                   - 11 -
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 21 of 40 PageID #: 3064




         Second, as shown above, Gavrieli will suffer immediate and irreparable harm in the form

  of lost market share, customers, and goodwill unless Defendants’ infringement is permanently

  enjoined. See Nike, 2006 WL 3883278, at *3 (“Nike will be severely handicapped in its ability to

  prevent further importation of infringing products, thereby destroying any potential of preserving

  the status quo pending a resolution of this case on the merits.”); Cal. Med. Prods., Inc. v.

  Emergency Med. Inc., 796 F. Supp. 640, 647 (D.R.I. 1992) (“[T]he potential harm to [patentee]

  outweighs the potential harm to [defendant]” if denying injunctive relief would “cause

  considerable harm to [patentee’s] reputation and threaten its market position”).

         Third, the requested injunction is narrowly tailored to prevent Defendants from selling only

  those flats that use Gavrieli’s patented designs and trade dress, not ballet flats altogether. Ms. de

  Baere and Mr. Rake both testified at trial that multiple design alternatives exist that Defendants

  could have readily pursued. Trial Tr. at 633:20-635:7, 789:19-790:21. Any purported harm from

  precluding Defendants’ ongoing infringement does not outweigh the permanent and irreparable

  harm to Gavrieli caused by the infringement. It is well settled that “[a]n alleged infringer’s loss

  of market share and customer relationships, without more, does not rise to the level necessary to

  overcome the loss of exclusivity experienced by a patent owner due to infringing conduct.” Pfizer,

  Inc. v. Teva Pharms. USA, Inc., 429 F.3d 1364, 1382 (Fed. Cir. 2005). Any hardship caused by

  permanently enjoining Defendants’ infringement is limited to the injury ordinarily expected from

  an injunction. The balance of equities thus strongly favors injunctive relief.

                 4.      The Public Interest Is Served by an Injunction

         The injunction requested by Gavrieli serves the public interest for three reasons. First,

  “strong public policy favor[s] the enforcement of patent rights,” including the right to prevent

  infringement through a permanent injunction. PPG Indus. v. Guardian Indus. Corp., 75 F.3d 1558,

  1567 (Fed. Cir. 1996). Indeed, “[w]ithout the right to obtain an injunction, the right to exclude



                                                   - 12 -
Case 1:18-cv-00462-MN          Document 153         Filed 06/27/19       Page 22 of 40 PageID #: 3065




  granted to the patentee would have only a fraction of the value it was intended to have.” Smith

  Int’l, 718 F.2d at 1578. Allowing Defendants to continue their willful and intentional infringement

  would discourage the types of investments made by Gavrieli to develop and protect its designs.

  Abbott Labs v. Sandoz, Inc., 544 F.3d 1341, 1363 (Fed. Cir. 2008) (“The patent laws promote . . .

  progress by offering a right of exclusion for a limited period as an incentive to inventors to risk

  the often enormous costs in terms of time, research, and development.”).

          Second, enjoining Defendants’ infringing activities will not harm the public. There are

  many other ballet flats on the market not covered by Gavrieli’s design patents and trade dress. The

  public will still be able to purchase these non-infringing products, despite an injunction against

  Defendants. Acumed, 551 F.3d at 1331 (Fed. Cir. 2008) (granting permanent injunction and

  finding no public interest bar because non-infringing alternatives existed); Hybritech Inc. v. Abbott

  Labs., 849 F.2d 1446, 1458 (Fed. Cir. 1988) (same).

          Third, the public would actually benefit from enjoining Defendants’ infringement. The

  Third Circuit has recognized that the “public interest . . . is synonym for the right of the public not

  to be deceived or confused” by ongoing infringement. Shields v. Zuccarini, 254 F.3d 476, 486

  (3d. Cir. 2001); see also Angel Flight of Georgia, 522 F.3d at 1209 (“[T]he public deserves not to

  be led astray by the use of inevitably confusing marks”); Bekins Holding Corp. v. BGT Trans, Inc.,

  2010 WL 11597623, at *12 (C.D. Cal. Nov. 19, 2010) (granting injunctive relief and finding that

  the defendant’s “behavior is likely to confuse the public, and that it would be in the public interest

  to take steps to prevent this confusion.”). Thus, the public interest strongly favors injunctive relief.

          B.      A Broad Injunction Is Warranted

          As shown below, the full scope of the requested injunction is not only appropriate, but also

  necessary to prevent the aforementioned types of irreparable harm to Gavrieli.




                                                     - 13 -
Case 1:18-cv-00462-MN          Document 153         Filed 06/27/19      Page 23 of 40 PageID #: 3066




         The injunction should apply to Defendants’ successors and its aiders and abettors.

  Following the judgment, Mr. Pichler published an update to his customers suggesting that he

  would seek to avoid any injunction by forming another entity to continue his willful and intentional

  infringement. Ex. C (Update #2) (“You can kill the man but you can’t kill the idea!, the shoe

  concept we invented and started will move forward, regardless of brand name, person, or

  company.”) (emphasis added). To prevent Mr. Pichler from evading an injunction, the injunction

  should apply not only to Defendants’ “officers, agents, servants, employees, and attorneys” (FRCP

  65(d)), but also to any successors in interest and any aiders and abettors thereto. Forest Labs. Inc.,

  v. Ivax Pharma., Inc., 501 F.3d 1263, 1272 (Fed. Cir. 2007) (affirming injunction applied to non-

  party manufacturer); Tinnus Enterprises, LLC v. Telebrands Corp., 2017 WL 24147, at *3-5 (E.D.

  Jan. 3, Tex. 2017), aff'd, 846 F.3d 1190 (Fed. Cir. 2017) (applying injunction to non-party

  retailers); 3M Innovative Properties Co. v. Avery Dennison Corp., 2006 WL 2735499, at 2 (D.

  Minn. Sept. 25, 2006) (applying permanent injunction to “[non-party] distributors aiding and

  abetting [defendant] in its efforts to avoid the impact of the injunction.”).

         The Courts should seize the remaining inventory of infringing flats, as well as the

  materials used to manufacture and market those flats. In several post-trial publications to

  customers, Mr. Pichler has promised “to deliver the rest of the shoes to every supporter in the

  coming weeks and months, regardless of the future of Soto Massini (USA) Corp.” Ex. B (Update

  #1); Ex. C (Update #2) (“While I don’t know yet what the future holds for the legal entity Soto

  Massini (USA) Corp. under which we operate, I will do everything in my power to deliver the

  shoes to every supporter.”). Worse yet, Defendants’ customer communications suggest that some

  of this inventory has already been delivered. Ex. A. Defendants should not be allowed to sell off

  their remaining inventory of infringing flats. 3M, 2006 WL 2735499, at *2 (enjoining patent




                                                    - 14 -
Case 1:18-cv-00462-MN         Document 153        Filed 06/27/19      Page 24 of 40 PageID #: 3067




  infringement and refusing to permit defendant to sell its remaining inventory). Where, as here, the

  patentee does not license its patents, courts routinely order the defendant to surrender the

  remaining inventory of infringing products to the patentee for destruction. Sportco, Inc. v. TRT

  Tactical, LLC, 2015 WL 3915618, at *3 (E.D.N.Y. 2015) (enjoining patent infringement and

  ordering defendant to “surrender all existing inventory of the [infringing product] to [patentee’s]

  counsel for destruction”); Harris Research, Inc. v. Perrine, 2009 WL 1457674, at *8 (D. Utah

  2009), adopting report and recommendation, 2010 WL 936071 (D. Utah 2010) (ordering pro se

  defendants to turn over inventory of accused product to patentee); Fisher-Price, Inc. v. Safety 1st,

  Inc., 2008 WL 1976624, at *3 (D. Del. May 5, 2008) (Sleet, J.) (holding infringer in contempt of

  a seizure order for not exercising all reasonable efforts to retrieve existing inventory from

  retailers).

          Additionally, Defendants should be required to take down and destroy any remaining

  online or printed marketing materials for the infringing flats, including, but not limited to, those

  explicitly identified in the requested injunction. Belleau Tech., LLC v. JoeAllenPro Ltd., 2018 WL

  4037882, at *1 (S.D.N.Y. 2018) (enjoining patent infringement and ordering defendant to “destroy

  any copies of the [infringing] software product” and “take down and/or destroy any remaining

  marketing for the [infringing product], including, but not limited to, taking down the

  autoprompter.com website, [and] removing the AutoPrompter promotional video posted by

  [defendant] on YouTube.”); World Ent’mt, Inc. v. Brown, 2011 WL 2036686 (E.D. Pa. May 20,

  2011), aff’d, 487 F. App’x. 758 (3d Cir. 2012) (enjoining further trademark infringement and

  ordering destruction of all products and marketing materials bearing infringing marks). Given that

  the outsole designs are a crucial component of the patents and trade dress rights at issue here,

  Defendants should also be required to surrender any molds used to create the outsoles of the




                                                   - 15 -
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 25 of 40 PageID #: 3068




  infringing ballet flats. United Construction Products, Inc. v. Title Tech., Inc., 843 F.3d 1363, 1372

  (Fed. Cir. 2016) (upholding injunction requiring defendant to surrender molds used to manufacture

  the infringing products “as an acceptable means of preventing future infringement” of the patents).

         The Court should preclude Defendants’ foreign acts of trade dress infringement that

  injure Gavrieli in the United States. “It is well-established that United States courts have

  jurisdiction to apply the Lanham Act to allegedly infringing conduct occurring outside the United

  States when necessary to prevent harm to United States commerce.” A.V. by Versace, Inc. v.

  Gianni Versace, S.p.A., 126 F. Supp. 2d 328, 337 (S.D.N.Y. 2001); Steele v. Bulova Watch Co.,

  344 U.S. 280, 289 (1952) (affirming injunction precluding foreign sales of infringing watches that

  damaged rights holder’s reputation in the U.S.); Polaroid Corp. v. Blue Dot Corp., 1981 WL 48175

  (D. N.J. Aug. 12, 1981), aff’d, 688 F.2d 823 (3d Cir. 1982) (same for trade dress infringement);

  Fun–Damental Too, Ltd. v. Gemmy Indus. Corp., 111 F.3d 993 (2d Cir. 1997) (same).

         Defendants’ intentional trade dress infringement has caused Gavrieli to lose sales, market

  share, customers, and goodwill in the United States, which “affect American foreign commerce in

  a manner that causes an injury to [Gavrieli] cognizable under the Lanham Act.” Reebok Int’l Ltd.

  v. Marnatech Enters., 970 F.2d 552, 554-555 (9th Cir. 1992) (enjoining sales of infringing shoes

  in Mexico due to the “decreased sale of genuine REEBOK shoes” in the U.S.). Moreover, since

  Mr. Pichler has been found to control Soto Massini USA (D.I. 108), his “[Austrian] citizenship

  cannot serve as a shield against the application of the Lanham Act.” A.V. by Versace, 126 F. Supp.

  2d at 337 (enjoining both U.S. corporation and foreign national who controlled the corporation

  from selling infringing apparel abroad); Calvin Klein Inds., Inc. v. BFK Hong Kong, Ltd., 714 F.

  Supp. 78, 80 (S.D.N.Y. 1989) (same); Levi Strauss & Co. v. Sunrise Int'l Trading Inc., 51 F.3d

  982, 985 (11th Cir. 1995) (same).




                                                   - 16 -
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 26 of 40 PageID #: 3069




         The Court should order Defendants to distribute corrective notices. “In fashioning relief

  against a party who has transgressed the governing legal standards, a court of equity is free to

  proscribe activities that, standing alone, would have been unassailable,” including distributing

  corrective notices “to dispel customer confusion.” Taco Cabana Int'l, Inc. v. Two Pesos, Inc., 932

  F.2d 1113, 1126 (5th Cir. 1991), aff’d, 505 U.S. 763 (1992); On Command Video Corp. v.

  Columbia Pictures Indus., Inc., 764 F.Supp. 1372, 1374 (N.D. Cal. 1991) (“Courts routinely

  uphold good-faith notifications to non-parties of intellectual property claims.”).

         To dispel the confusion and deception caused by their transgressions, Defendants should

  be ordered to e-mail their customers a corrective notice expressly stating that they unfairly copied

  Gavrieli’s patented designs and trade dress and falsely advertised the infringing ballet flats, and

  publish that notice on their website for a year. Taco Cabana, 932 F.2d at 1125 (affirming

  injunction ordering defendant to “display[] a prominent sign for a year acknowledging that

  [defendant] had unfairly copied [plaintiff’s trade dress]”); Church & Dwight Co., Inc. v. SPD Swiss

  Precision Diagnostics, GmBH, 843 F.3d 48, 72 (2d. Cir. 2016) (affirming injunction ordering

  “Defendant to distribute corrective notices that expressly acknowledge that the court found

  Defendant to have engaged in false and misleading advertising.”); Midwest Fur Producers Ass'n

  v. Mutation Mink Breeders Ass'n, 127 F. Supp. 217, 229-230 (W.D. Wis. 1954) (ordering

  defendant to publish in “a trade journal of general circulation in the same manner as its previous

  advertisements . . . either a full statement or a fair summary of this judgement and decree”). This

  relief is particularly appropriate where the acts of infringement, unfair competition, or and false

  advertising were intentional. Church & Dwight, 843 F.3d at 72 (corrective notice appropriate “in

  view of the district court’s finding that defendant was intentionally deceptive in its advertising”).




                                                   - 17 -
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 27 of 40 PageID #: 3070




  II.    GAVRIELI IS ENTITLED TO ITS ATTORNEYS’ FEES

         Section 1117(a) of the Lanham Act authorizes an award of attorneys’ fees in “exceptional”

  cases. Although the term “exceptional” is not defined in the statute, “the Third and Fourth Circuits

  have since held that the standard in Octane Fitness also applies to attorney fee awards under the

  Lanham Act.” Brady Worldwide, Inc. v. Haz-Mat Resp. Techs., 2016 WL 7839150, at *4 (E.D.

  Wis. Aug. 17, 2016) (citing Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 2014

  (2014)). Under Octane Fitness, an “exceptional case” is one that “stands out from others” either

  in terms of (1) “the substantive strength of a party’s litigating position,” and/or (2) “the

  unreasonable manner in which the case was litigated” by Defendants. See Octane Fitness, 572

  U.S. at 554. This case is “exceptional” under either prong.

         A.      Defendants’ Willfulness Makes This Case Exceptional

         The jury’s finding of intentional trade dress infringement, false advertising, and unfair

  competition “alone is a compelling indication that this is an exceptional case.” Georgetown Rail

  Equip. Co. v. Holland L.P., 2016 WL 3346084, at *4 (E.D. Tex. June 16, 2016); see also Brady

  Worldwide, 2016 WL 7839150, at *5 (awarding attorneys’ fees to trademark holder; “[W]illfulness

  support[s] a finding that this case is exceptional and justifies awarding attorneys’ fees.”); Yah Kai

  World Wide Enterprises, Inc. v. Napper, 292 F. Supp. 3d 337, 366 (D.D.C. 2018), appeal

  dismissed, 2018 WL 4641349 (D.C. Cir. 2018) (awarding attorneys’ fees to trademark holder due

  to defendant’s “willful trademark infringement and unfair competition”); see also BASF Corp. v.

  Old World Trading Co., Inc., 41 F.3d 1081, 1099 (7th Cir. 1994) (affirming attorneys’ fees award

  where defendant’s false advertising was “deliberate”). Aside from the willfulness finding, “this

  case is also undoubtedly extraordinary” because “[Defendant’s] deliberate heist [of Gavrieli’s

  trade dress]—and the accompanying intentional freeriding on the goodwill that [Gavrieli] had




                                                   - 18 -
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 28 of 40 PageID #: 3071




  established with customers . . . is exceedingly unusual, and therefore, this case is far from run-of-

  the-mill.” Yah Kai, 292 F. Supp. at 366 (D.D.C. 2018).

         Indeed, Defendants’ willful misconduct justifies fees even under Brooks Furniture, which

  the Octane Fitness Court abrogated for being “too restrictive” and “demanding.” Octane Fitness,

  572 U.S. at 554 (recognizing that “a case is exceptional under [Brooks Furniture] only ‘when there

  has been some material inappropriate conduct related to the matter in the litigation, such as willful

  infringement’”) (quoting Brooks Furniture Mfg., Inc. v. Dutailier Int'l, Inc., 393 F.3d 1378 (Fed.

  Cir. 2005)). Moreover, Defendants’ failure to obtain an opinion of counsel upon receiving notice

  of their trade dress infringement also supports exceptionality and an award of fees to Gavrieli. See

  E. & J. Gallo Winery v. Consorzio del Gallo Nero, 782 F. Supp. 472, 476 (N.D. Cal. 1992)

  (attorneys' fees awarded to trademark holder; “[Defendant] could have retained legal counsel to

  obtain an opinion as to the likelihood of [trademark] infringement.”); N.Y. Soc. of Cert. Pub. Accts.

  v. Eric Louis Assocs., Inc., 79 F. Supp. 2d 331, 349 (S.D.N.Y. 1999) (same).

         B.      Defendants Presented No Defenses to Gavrieli’s Lanham Act Claims, and
                 Asserted Factually Baseless and Legally Barred Counterclaims

         The one-sidedness of the jury verdict demonstrates not only the strength of Gavrieli’s

  claims, but also the unusual disparity between the parties’ litigation positions. Cf. JEG

  Powersports, LLC v. M & N Dealership VI, LLC, 2017 WL 5346388, at *2 (W.D. Okla. Nov. 13,

  2017) (denying attorneys’ fees to trademark holder where “[its] victory at trial was only partial.”).

  Defendants’ litigation positions (or lack thereof) makes this case exceptional for two reasons.

         First, Defendants failed to present any defenses whatsoever to Gavrieli’s Lanham Act

  claims. For its false advertising claim, Gavrieli presented evidence that Defendants’

  advertisements, including those claiming that the Infringing Flats are made with “full grain” and/or

  “Nappa” leather and that a portion of each sale is donated to charity, were literally false and




                                                   - 19 -
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 29 of 40 PageID #: 3072




  material to consumer purchasing decisions. Defendants never responded, failing to present any

  rebuttal evidence whatsoever. Likewise, for its trade dress infringement claim, Gavrieli presented

  evidence of secondary meaning and a likelihood of confusion that included surveys, expert

  opinions, and consumer testimony, while Defendants failed to present any rebuttal evidence at all.

         Second, Defendants asserted counterclaims they knew were factually baseless in a

  desperate attempt to gain leverage in this case. As just one example, Defendants alleged that

  Gavrieli committed unfair competition by paying for positive reviews, without pleading any

  particular facts to support those allegations. D.I. 22, 31, 45. Thereafter, Mr. Pichler admitted

  during his Dec. 4, 2018 deposition that he was unaware of any facts supporting this bald allegation:

                 Q. Do you have any evidence or any reason to believe [Gavrieli] pay[s]
                    people to provide positive reviews?
                 A. I don’t know.
                 Q. Why is that in your lawsuit?
                 A. I don’t know.

  Ex. E (Pichler Depo Tr. at 299:22-300:1). Mr. Pichler also admitted that Defendants’ false

  advertising counterclaims against Gavrieli were likewise factually baseless:

                 Q. There’s also a contention that’s been made in the lawsuit by Soto Massini
                     that the Tieks sold by Gavrieli are not made with Italian leather.
                 A. No, I don’t think we ever said that.
                 Q. You have no reason to believe they don’t use Italian leather?
                 A. No, I have no reason to believe that they don’t.

  Id. at 302:10-17. The same is true for Defendants’ other counterclaims, which Mr. Pichler

  admittedly never investigated. Id. at 302:2-7 (Q. You didn't investigate the trade libel claim or --

  A. No. Q. Or any of the other claims that were made against Gavrieli in this case? A. No.”). Even

  after fact discovery closed, Defendants still could find no evidence to support their frivolous

  counterclaims. Rather than withdraw counterclaims they knew were baseless, Defendants forced




                                                   - 20 -
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 30 of 40 PageID #: 3073




  Gavrieli to move for their dismissal (D.I. 34), and then mooted that motion by filing an amended

  answer that made only nominal amendments (D.I. 45), forcing Gavrieli to once again move for

  their dismissal (D.I. 90). Simply put, Defendants “exhibited an overall vexatious strategy by

  continuing to hold these groundless claims over [Gavrieli’s] head to increase potential settlement”

  and to increase Gavrieli’s legal expenses. Linex, 2014 WL 4616847, at *5. This conduct exhibits

  an “indicia of extortion” sufficient to show that Defendants “acted in bad faith by exploiting the

  high cost to defend complex litigation.” Eon-Net LP v. Flagstar Bancorp., 653 F.3d 1314, 1327-

  28 (Fed. Cir. 2011).

         Moreover, Defendants moved forward with counterclaims that were plainly barred by

  California’s litigation privilege. See Lyda v. CBS Interactive Inc., No. 4:16-cv-06592-JSW, Dkt.

  35 (N.D. Cal. Jan. 24, 2018) (awarding attorneys’ fees for claims barred by res judicata); Linex

  Tech., Inc. v. Hewlett Packard Co., 2014 WL 461687, at *3-5 (N.D. Cal. Sept. 15, 2014) (same).

  Despite Gavrieli’s repeated warnings that the Fifth through Tenth counterclaims were legally

  barred (D.I. 34, 52, 90), Defendants chose to ignore black-letter law and pressed on until the Court

  dismissed those counterclaims on that very basis. D.I. 108.

         C.      Defendants Undertook a Vexatious Litigation Strategy and Employed
                 Dilatory Tactics to Harass Gavrieli and Drive Up Its Litigation Costs

          “[W]hatever the reasonableness of [Defendants’] claims or defenses,” this Court “may

  order fee-shifting because of [their] litigation misconduct.” Kirtsaeng v. John Wiley & Sons, Inc.,

  136 S. Ct. 1979, 1988 (2016). Defendants’ litigation misconduct began at the very start of this

  case, when Mr. Pichler avoided a temporary restraining order (“TRO”) by falsely representing to

  Judge Sleet that the Infringing Flats had “not yet [been] manufactured or sold,” D.I. 13 at ¶ 4—

  even though Mr. Pichler had already made and sold hundreds of Infringing Flats earlier that year,

  D.I. 111 at Ex. 2 (Defendants’ discovery letter admitting pre-suit sales); id. at Ex. 17 (invoice for




                                                   - 21 -
Case 1:18-cv-00462-MN         Document 153        Filed 06/27/19      Page 31 of 40 PageID #: 3074




  pre-suit sales). Emboldened by the success of his misrepresentations, Mr. Pichler took another

  chance at avoiding liability altogether by carrying out a calculated scheme designed to prevent

  Gavrieli from proving its claims. In particular:

            To conceal his TRO misrepresentations, Mr. Pichler submitted false discovery
             responses about when, where, and by whom the Infringing Flats were made and sold.
             D.I. 111 at 9, Exs. 6-8.

            To prevent Gavrieli from uncovering the truth through document requests, Mr. Pichler
             withheld sales order records for the Infringing Flats and e-mails evidencing customer
             confusion for the entire duration of fact discovery. D.I. 111, Exs. 9-11 and 14-17.

             In response to Gavrieli moving to compel the withheld sales order records and
             customer e-mails in October 2018 (D.I. 65), Mr. Pichler falsely stated that sales order
             records and customer e-mails did not exist (D.I. 66)—a misrepresentation that this
             Court relied on in its Order denying Gavrieli’s motion to compel (D.I. 68).

            To hide his discovery misconduct, Mr. Pichler falsely testified at his deposition that the
             Infringing Flats were never manufactured or sold prior to the lawsuit, and were never
             made available for sale outside of the Kickstarter or Indiegogo. D.I. 111 at 8-9, Ex. 4.

            To prevent Gavrieli from proving its design patent and trade dress infringement claims,
             Mr. Pichler violated this Court’s Feb. 11, 2019 Discovery Order by withholding e-mails
             evidencing customer confusion and sales order records revealing the extent of his
             infringing sales. See generally D.I. 111.

  Defendants never disputed these facts. D.I. 115. This Court found Defendants conduct in discovery

  to be “disturbing,” noting that it was “troubled” by Defendants’ “changing positions on the

  existence of those documents.” Ex. F at 37:13-20. Each of these acts alone supports an exceptional

  case finding. Progressive Int’l. Corp. v. AMGTM LLC, 2018 WL 4091694, at *5-6 (W.D. Wash.

  Aug. 28, 2018) (case exceptional due to infringer’s false testimony to reduce damages exposure);

  Imperium IP Holdings (Cayman), Ltd. v. Samsung Elec. Co., Ltd., 2017 WL 4038883, at *3 (E.D.

  Tex. 2017), rev'd on other grounds, 2019 WL 404572 (Fed. Cir. 2019) (case exceptional due to

  infringer’s “multiple material misrepresentations under oath and in their pleadings”).

         Defendants also engaged in the sort of “wasteful procedural maneuvers or dilatory tactics

  that are the hallmark of a case that has been litigated in an unreasonable manner.” Parks, LLC v.



                                                     - 22 -
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 32 of 40 PageID #: 3075




  Tyson Foods, Inc., 2017 WL 3534993, at *1 (E.D. Pa. Aug. 17, 2017). Not only did Defendants

  fail to provide discovery timely, they refused to produce critical discovery altogether, leaving

  Gavrieli with no choice but to engage in multiple rounds of fruitless meet and confers, only to have

  to seek court intervention by filing two separate motions to compel (D.I. 65, 93). Imperium IP,

  2017 WL 4038883, at *3 (exceptional case due to discovery misconduct). Even after this Court

  compelled the production of these documents, Defendants violated that Order by failing to produce

  the requested documents, forcing Gavrieli to yet again seek legal redress from the Court (D.I. 111).

         Defendants engaged in other dilatory tactics that multiplied the proceedings in this case.

  For example, Defendants refused to stipulate to facts that they had previously admitted to in their

  discovery responses (D.I. 117 ¶ 12, Ex. 1). Moreover, Defendants failed to submit their pre-trial

  disclosures on time (id. ¶ 15, n.3), leading this Court to order Gavrieli to “supplement the Pretrial

  Order,” which was “incomplete” “because of late disclosures by Defendants” (Apr. 3, 2019 Order).

  As another example, after jointly submitting the proposed jury instructions (D.I. 123-125),

  Defendants demanded that the jury be instructed on inequitable conduct and functionality, and

  then failed to submit any proposed instructions despite obtaining leave from the Court to do so.

  Trial Tr. at 478:8-480:2. Similarly, after refusing to make Ms. Giraldo available for a deposition

  during fact discovery, Defendants demanded that she be permitted to testify at trial (D.I. 128), but

  then refused to make Ms. Giraldo available for the court-ordered deposition (D.I. 131-132),

  causing Gavrieli to needlessly prepare for her deposition on the eve of trial. Even if any one of

  “these things, in isolation,” did not make this case exceptional, “when a party does all of these

  things, the Court can only conclude the party needlessly multiplied the proceedings at the expense

  of the opposing side and the Court.” Georgetown Rail, 2016 WL 3346084, at *22-24.




                                                   - 23 -
Case 1:18-cv-00462-MN         Document 153        Filed 06/27/19      Page 33 of 40 PageID #: 3076




         The same is true for the “litigation misconduct and unprofessional behavior” Defendants

  exhibited at trial, which “suffice to make a case exceptional.” Sensonics, Inc. v. Aerosonic Corp.,

  81 F.3d 1566, 1574 (Fed. Cir. 1996). After obstructing the discovery in this case, Defendants

  repeatedly sought to ambush Gavrieli at trial by litigating issues and presenting evidence that were

  never disclosed before trial, much less preserved in the Pretrial Order. As this Court stated:

               I will note that defendants have on at least three occasions raised issues that
               were not properly included in the pretrial order. I have attempted to give
               some latitude to defendants given the circumstances, but I am cognizant of
               the prejudice that this continued surprise may cause to plaintiff. So you are
               now warned. I will not continue to tolerate trial by surprise and if it does
               continue, I will use what discretionary power I have, including sanctions, to
               stop it.

  5/1/19 Trial Tr. at 464:2-10 (emphasis added). Defendants’ trial misconduct did not stop there.

  As shown below, Defendants tried repeatedly to present evidence excluded by the Court,

  contradicted and mischaracterized Court rulings, ignored requests from the Court for supporting

  evidence and case law, and failed to submit construction positions and supplemental jury

  instructions after requesting and obtaining leave by the Court to submit them.

            Defendants’ opening statements contradicted the Court’s Feb. 11, 2019 Order finding
             Mr. Picher personally liable for failing to follow the corporate formalities, claiming
             “[Mr. Pichler] followed the law, followed all formalities . . . nothing personal about
             this business.” 4/29/19 Trial Tr. 157:22-25.

            Defendants’ opening statements mischaracterized the Court’s TRO Order. 4/29/19
             Trial Tr. at 157:1-4 (“[A] year ago they came to this court and asked the court to shut
             us down. You know what the court said? Case isn’t good enough. Sorry.”)

            Defendants’ opening statements also referred to shoes that were never admitted into
             evidence, or previously excluded by the Court. 4/29/19 Trial Tr. at 160:16-23 (“[T]he
             evidence will show lots of brand ballet flats from before 2000, the year 2000s. Mr.
             Pichler himself bought a pair ballet flats with the same kind of dual sole design, it’s
             called a Camper Shoe in 2005, the evidence will show, for his wife, who was pregnant
             at the time.”); Id. at 162:21-24 (“Gap makes a dual sole ballet flat, Cohan, Camper, I
             mean, there are many other designs which are all of a similar general look”).

            Rather than provide Gavrieli with fair notice of the trial exhibits they intended to use
             with each witness, Defendants identified over 160 exhibits for each of their witnesses



                                                   - 24 -
Case 1:18-cv-00462-MN          Document 153         Filed 06/27/19      Page 34 of 40 PageID #: 3077




              and anything that was already admitted into evidence, and then failed to narrow their
              disclosures after the Court ordered them to do so. See 5/1/19 Trial Tr. at 480:21-483:5
              (The Court: “I want you to narrow that list tonight when you figure out what you’re
              actually going to use.”).

             At the end of the second day of trial, Defendants demanded a Markman hearing for the
              first time in the case, and then failed to file the submission ordered by the Court to hold
              a Markman hearing the following morning. See 5/1/19 Trial Tr. at 462:19-464:1.

             To reduce his damages exposure, Mr. Pichler falsely testified at trial that no Infringing
              Flats had been made or sold before June 2018. See 5/2/19 Trial Tr. at 939:10-19.

  There is no disputing that Defendants engaged in “numerous instances of litigation misconduct”

  at every stage of this case, which when considered collectively, amounted to “an overall vexatious

  litigation strategy” that is more than “sufficient to support an exceptional case determination.”

  Monolithic Power Sys., Inc. v. O2 Micro Intern. Ltd., 726 F.3d 1359, 1367 (Fed. Cir. 2013).

         D.      The Court May Also Award Attorneys’ Fees Under Its Inherent Powers

         Under its inherent powers, a district court may “assess attorneys’ fees . . . when the losing

  party has acted in bad faith, vexatiously, wantonly, or for oppressive reasons.” Alyeska Pipeline

  Serv. Co. v. Wilderness Soc’y, 421 U.S. 240, 259 (1975). The bad-faith standard for the award of

  fees “is not restricted to cases where the action is filed in bad faith,” therefore “[b]ad faith may be

  found, not only in the actions that led to the lawsuit, but also in the conduct of the litigation.”

  Roadway Exp. Inc. v. Piper, 447 U.S. 752, 766 (1980). “[I]f in the informed discretion of the

  court, neither the statute nor the Rules are up to the task, the court may safely rely on its inherent

  power.” Chambers v. NASCO, Inc., 501 U.S. 32, 50 (1991).

         As detailed above, Defendants acted in bad faith by willfully infringing the patents and

  committing intentional trade dress infringement, false advertising, and unfair competition; they

  litigated this case through trial without any defenses to Gavrieli’s Lanham Act claims; they

  asserted factually baseless and legally barred counterclaims in an attempt to force a settlement;

  and they unreasonably multiplied the proceedings to force Gavrieli to incur significant legal



                                                    - 25 -
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19     Page 35 of 40 PageID #: 3078




  expenses. Defendants’ collective actions wantonly wasted the resources of the Court and Gavrieli,

  justifying an award of attorneys’ fees under the Court’s inherent authority.

         For the foregoing reasons, Gavrieli requests an order finding this case exceptional under

  35 U.S.C. § 285, and 15 U.S.C. § 1117, and the Court’s inherent power. If the motion is granted,

  Gavrieli requests fourteen days to submit the appropriate documentation and affidavits to

  substantiate the amount of attorneys’ fees it seeks to recover.

  III.   THE COURT SHOULD ENHANCE THE DAMAGES AWARD BY TRIPLE

         “Section 35 of the Lanham Act endows the district court with considerable discretion in

  fashioning an appropriate remedy for infringement” by awarding any amount in excess of actual

  damages that does not exceed three times that amount. Taco Cabana, 932 F.2d at 1127 (citing 15

  U.S.C. s 1117(a)). The jury’s damages award should be tripled for at least two reasons.

         First, Defendants’ acts of intentional trade dress infringement, false advertising, and unfair

  competition alone warrant enhancing the jury’s damages award by triple. Taco Cabana, 932 F.2d

  at 1127 (enhancing damages for willful trade dress infringement; “An enhancement of damages

  may be based on a finding of willful infringement.”); e.g., Deering Milliken & Co. v. Gilbert, 269

  F.2d 191, 194 (2d Cir. 1959) (trebling damages due to “the deliberate and fraudulent nature of the

  infringement.”); Larsen v. Terk Tech. Corp., 151 F.3d 140 (4th Cir. 1998) (same); New York

  Racing Ass’n, Inc. v. Stroup News Agency Corp., 920 F. Supp. 295, 301 (N.D.N.Y. 1996) (same).

  By continuing to willfully infringe in the face of a court judgement, Defendant have shown that

  the jury’s damages award is not a sufficient deterrent. Enhancement is therefore needed not only

  to deter Defendants from willfully infringing in the present case, but also from engaging in

  egregious infringement in the future. See A & H Sportswear Co. v. Victoria’s Secret Stores, Inc.,

  167 F. Supp. 2d 770, 802 (E.D. Pa. 2001) (“Damages may be enhanced … in order to deter cases

  of egregious infringement”); Sweetzel, Inc. v. Hawk Hill Cookies, Inc., 1996 U.S. Dist. LEXIS



                                                   - 26 -
Case 1:18-cv-00462-MN           Document 153        Filed 06/27/19       Page 36 of 40 PageID #: 3079




  8562, at *7 (E.D. Pa. June 19, 1996) (“[C]ourts have required that the final remedy imposed …

  provide a sufficient deterrent to ensure that the guilty party will not return to its former ways and

  once again pollute the marketplace.”).

           Second, the jury’s damages award should be enhanced to compensate for Defendants’

  intentional failure to produce complete and reliable sales records. “[E]nhancement could,

  consistent with the ‘principles of equity’ promoted in [§ 1117], provide proper redress to an

  undercompensated plaintiff where imprecise damages calculations fail to do justice, particularly

  where the imprecision results from defendant’s conduct.” Taco Cabana, 932 F.2d at 1127

  (emphasis added); Bos. Prof’l Hockey Ass’n v. Dallas Cap & Emblem Mfg., Inc., 597 F.2d 71, 77

  (5th Cir. 1979) (“[I]ncreased damages may be justified by defendant’s withholding or

  misrepresenting available sales records, which would have the effect of making much more

  difficult, if not impossible, plaintiffs’ proof of damages or profits.”).

           Rather than produce complete sales records for all of their sales channels, Defendants only

  produced a summary of their Kickstarter sales, and intentionally withheld all of their sales order

  records from Indiegogo and Shopify, including the sales orders placed by Gavrieli’s counsel (D.I.

  93 at Ex. 7) and Gavrieli’s infringement expert, Ms. Caroline de Baere (D.I. 111 at Exs. 14-15).

  Even after the Court compelled their production, Defendants’ chose to violate that order by

  continuing to withhold these sales order records. Because Defendants’ Indiegogo and Shopify

  sales cannot be independently verified, 1 Gavrieli could not calculate with detailed specificity

  Defendants’ ill-gotten gains. Indeed, Gavrieli’s damages expert, Mr. Neil Zoltowski, testified at

  trial that the sales data produced by Defendants was incomplete, unreliable, and inconsistent,

  leading to damages calculations that likely understated the true extent of Defendants’ infringing



  1
      Unlike Kickstarter, Indiegogo and Shopify do not publish sales revenues on their websites.



                                                     - 27 -
Case 1:18-cv-00462-MN           Document 153       Filed 06/27/19      Page 37 of 40 PageID #: 3080




  sales, as well as Gavrieli’s loss of goodwill and cost of corrective advertising. See, e.g., Trial Tr.

  849:23-850:2. Given that Defendants’ discovery misconduct and unreliable recordkeeping created

  this uncertainty, the Court should resolve any doubts about Defendants’ sales in Gavrieli’s favor.

  Louis Vuitton S.A. v. Spencer Hangbags Corp., 765 F.2d 966, 973 (2d Cir. 1985) (recognizing that

  doubts about an infringer’s actual sales should be resolved in the trademark holder’s favor because

  infringer controls its sales data).

          Accordingly, Defendants’ willful failure to produce complete and reliable sales records

  justifies tripling the jury’s damages award to compensate for the understated calculation of

  Defendants’ sales. Playboy Enter. Inc. v. P.K. Sorren Export Co., Inc. of Fl., 546 F. Supp. 987,

  998 (S.D. Fla. 1982) (enhancing damages award where “record strongly indicates that plaintiff’s

  damages and defendants' profits were both greater than the amounts conclusively proven”).

  IV.     GAVRIELI IS ENTITLED TO PRE-JUDGEMENT INTEREST

          As the prevailing party, Gavrieli is presumptively entitled to prejudgment interest on the

  patent damages awarded “from the date of infringement to the date of judgment.” Nickson Indus.,

  Inc. v. Rol Mfg. Co., 847 F.2d 795, 800 (Fed. Cir. 1988) (citing 35 U.S.C. § 284). As the Supreme

  Court made clear in General Motors Corp. v. Devex Corp., 461 U.S. 648, 657 (1983),

  “prejudgment interest should ordinarily be awarded absent some justification for withholding such

  an award.” There is no reason to deviate from that rule here. A prejudgment interest award “serves

  to make the patent owner whole, for damages properly include the foregone use of money of which

  the patentee was wrongly deprived.” Sensonics, 81 F.3d at 1574.

          Prejudgment interest should also be awarded for Gavrieli’s non-patent damages. “It is a

  long-standing rule of our federal common law that, in the absence of an explicit statutory command

  otherwise, district courts have broad discretion to award prejudgment interest on a judgment

  obtained pursuant to a federal statute.” William A. Graham Co. v. Haughey, 646 F.3d 138, 144



                                                    - 28 -
Case 1:18-cv-00462-MN          Document 153        Filed 06/27/19      Page 38 of 40 PageID #: 3081




  (3d Cir. 2011). Courts routinely award prejudgment interest in Lanham Act cases. See Gorenstein

  Enters., Inc. v. Quality Care-USA, Inc., 874 F.2d 431, 436 (7th Cir. 1989) (awarding prejudgment

  interest on trademark infringement damages, noting that “[w]ithout [prejudgment interest],

  compensation of the plaintiff is incomplete and the defendant has an incentive to delay”); N.V.E.,

  Inc. v. Day, 2009 WL 2526744, at *5 (D.N.J. Aug. 18, 2009) (“although the damages provisions

  of the Lanham Act appear silent on the matter, most courts have also permitted an award of

  prejudgment interest in exceptional cases” and “[w]illful and deliberate trademark infringement

  constitutes an exceptional case for purposes of attorneys’ fees and prejudgment interest.”).

         The rate at which prejudgment interest is calculated is left to the sound discretion of the

  district court. Bio-Rad Labs., Inc. v. Nicolet Inst. Corp., 807 F.2d 964, 969 (Fed. Cir. 1986);

  Skretvedt v. E.I. DuPont De Nemours, 372 F.3d 193, 208 (3d Cir. 2004); Sun Ship, Inc. v. Matson

  Nav. Co., 785 F.2d 59, 63 (3d Cir. 1986) (“In federal question cases, the rate of prejudgment

  interest is committed to the discretion of the district court.”). After calculating the interest rate,

  courts determine whether to award simple or compound interest. Rite-Hite Corp. v. Kelley Co., 56

  F.3d 1538, 1555 (Fed. Cir. 1995). Delaware courts frequently award prejudgment interest at the

  prime rate, compounded quarterly. Courts in this District recognize that “the prime rate best

  compensate[s] a patentee for lost revenues during the period of infringement because the prime

  rate represents the cost of borrowing money, which is a better measure of the harm suffered as a

  result of the loss of the use of money over time.” Amgen Inc. v. Hospira, Inc., 2018 WL 4080353,

  *20-21 (D. Del. 2018) (awarding prejudgment interest at the prime rate, compounded quarterly)

  (quoting IMX, Inc. v. LendingTree, LLC, 469 F. Supp. 2d 203, 227 (D. Del. 2007)); Green

  Mountain Glass LLC v. Saint-Gobain Containers, Inc., F. Supp. 3d 610, 627-28 (D. Del. 2018)




                                                    - 29 -
Case 1:18-cv-00462-MN         Document 153         Filed 06/27/19      Page 39 of 40 PageID #: 3082




  (same); Ironworks Patents, LLC v. Apple, Inc., 255 F. Supp. 3d 513, 533-34 (D. Del. 2017) (same);

  LG Display Co. v. AU Optronics Corp., 722 F. Supp. 2d 466, 475 (D. Del. 2010) (same).

         Accordingly, Gavrieli respectfully requests that this Court award prejudgment interest on

  the $880,658 patent damages award, calculated at the prime rate, compounded quarterly. Gavrieli

  also requests that this Court award prejudgment interest on the $2,072,000 damages award from

  Defendants’ trade dress infringement, false advertising, or unfair competition, calculated at the

  prime rate, compounded quarterly. Such interest should run from Defendants’ first sale of

  infringing shoes on February 5, 2018 through May 13, 2019, the date of the Judgment. Nickson,

  847 F.2d at 800. As set forth in the accompanying declaration of Gavrieli’s damages expert, Neil

  Zoltowski, the total amount of prejudgment interest on the patent damages is $58,582, and the total

  amount of prejudgment interest on the nonpatent damages is $137,832, for a total of $196,414 in

  prejudgment interest. Zoltowski Decl., ¶ 8. Gavrieli therefore respectfully requests this Court

  amend the Judgment under Fed. R. Civ. P. 59(e) to award $196,414 in prejudgment interest. See

  Hologic, Inc. v. Minerva Surgical, Inc., 2019 WL 1958020, at *4-5 (D. Del. May 2, 2019) (“Rule

  59(e) has been invoked . . . to include prejudgment interest to which a party was entitled.”).

  V.     GAVRIELI IS ENTITLED TO POST-JUDGEMENT INTEREST

         As indicated in the Judgment, Gavrieli is entitled to post-judgment interest on the damages

  awarded pursuant to 28 U.S.C. § 1961(a). D.I. 149, ¶ 12. Section 1961 provides that post-

  judgment interest shall be “calculated from the date of the entry of the judgment, at a rate equal to

  the weekly average 1-year constant maturity Treasury yield . . . for the calendar week preceding

  the date of the judgment.”). 28 U.S.C. § 1961(a). Here, such rate was 2.36%. Zoltowski Decl., ¶

  9. As such, post-judgment interest currently accrues at $203.61 per day. Id.

  VI.    CONCLUSION

         Gavrieli respectfully requests that the Court order the aforementioned relief.



                                                   - 30 -
Case 1:18-cv-00462-MN     Document 153   Filed 06/27/19    Page 40 of 40 PageID #: 3083




   Dated: June 27, 2019                   Respectfully submitted,

                                          MORAN, LEWIS & BOCKIUS LLP

                                          /s/ Amy M. Dudash
                                          John V. Gorman (DE Bar No. 6599)
                                          Amy M. Dudash (DE Bar No. 5741)
                                          The Nemours Building
                                          1007 North Orange Street
                                          Suite 501
                                          Wilmington, Delaware 19801
                                          Telephone: 302.574.3000
                                          Fax: 302.574.3001
                                          john.gorman@morganlewis.com
                                          amy.dudash@morganlewis.com

                                          Attorneys for Plaintiff Gavrieli Brands LLC




                                         - 31 -
